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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA     *
                              *    CRIMINAL NO. TDC-19-200
      v.                      *
                              *
 ERIC EOIN MARQUES,           *
                              *
           Defendant          *
                              *
                           *******
  GOVERNMENT’S SUPPLEMENTAL MEMORANDUM IN AID OF SENTENCING

       Eric Eoin Marques (“Marques” or “Defendant”) was the most prolific purveyor of child

pornography in the world when he was arrested. He created servers on the Dark Web that hosted

some of the most violent child sexual abuse material (“CSAM”) in the world. Millions of

images of children being molested, tortured, and abused were recovered, many of them never

before seen by law enforcement authorities in the United States or anywhere in the world. He

also hosted his own website dedicated to the sexual abuse of children on a separate server in

another country.

       For these reasons, and those contained in this memorandum, and the Government’s prior

Sentencing Memorandum, the Government recommends the Defendant be sentenced to 324

months (27 years) imprisonment is appropriate in this case due to the egregiousness of the

Defendant’s crimes. A sentence of 324 months is sufficient but not greater than necessary to

accomplish the goals of sentencing under 18 U.S.C. § 3553.

                                  PROCEDURAL HISTORY

       On April 17, 2019, a grand jury indicted Defendant Eric Eoin Marques (“Marques” or

“Defendant”) for Conspiracy to Advertise Child Pornography, Conspiracy to Distribute Child

Pornography, Advertising Child Pornography, and Distribution of Child Pornography. (ECF No.
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29). On February 6, 2020, Defendant pled guilty to Conspiracy to Advertise Child Pornography,

in violation of Title 18, United States Code, Section 2251(d)(1)(A) & (e) pursuant to a negotiated

Plea Agreement and Statement of Facts. After the Court advised the parties that it would not

accept the plea agreement, the parties renegotiated the Plea Agreement and Statement of Facts.

The Defendant agreed to these changes, and the parties notified the Court of his intention to

continue with his guilty plea. On July 29, 2021, a revised Presentence Investigation Report

(“PSR”) was prepared. (ECF No. 107).

                                          ARGUMENT

       On April 15, 2021, the Government filed objections to the original PSR. The

Government believes those objections were resolved during the Defendant’s prior Sentencing

Hearing and in the Supplemental PSR. To the extent that the Court believes any objections were

not resolved, the Government reasserts those objections.

       A sentence of 324 months, with a lifetime of supervision, is warranted in this case. The

Government relies on the arguments set forth in the Government’s Sentencing Memorandum to

justify this sentence. It goes without saying that the crimes committed by the Defendant are

without parallel. The Defendant created a “safe place” for child sexual abusers to meet and share

images, videos, to encourage, to promote and discuss the sexual abuse of children, to include

infants. The Defendant committed this crime in the District of Maryland while sitting in his

living room in Dublin, Ireland. With the Defendant’s specific set of skills, no child in the world

is safe, no matter where the Defendant resides when he is released from prison.

       In his Supplemental Sentencing Memorandum (ECF No. 112), the Defendant argues that

the Court should sentence him to 252 months (21 years) imprisonment, in part due to the

“exceptionally difficult conditions under which Mr. Marques has been jailed awaiting



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sentencing.” (ECF No. 112, p.4). The Defendant asserts that he has been under enhanced

lockdown due to COVID-19 restrictions. Id. He argues that since the confinement facility took

precautions to protect him and others in their care from contracting the virus, he should receive a

lower sentence. However, the global COVID-19 pandemic is not a factor specific to Defendant’s

case, and he offers no case-specific facts establishing why the pandemic or the confinement’s

facilities precautions caused any unique burden to him.

        The only fact specific to the Defendant that he raises as to why these precautions are

more detrimental to him is that he is more isolated than other detainees because “his family

resides in Ireland and have never been able to visit him in person.” Id. at 5. The location of his

family and their ability to cross borders to visit him is not something within the control of a

detention facility, and should not be a factor in determining an appropriate sentence for the

Defendant’s crimes.

        The Defendant also now argues that he has not received any “treatment or therapy for his

well-documented mental health maladies while in U.S. custody.” Id. It is noteworthy that he

does not state what treatment or therapy he has not received, nor has he provided any medical

records or documentation regarding the medical treatment or therapy that has been diagnosed

and not provided. He has presented no evidence that such treatments are unavailable at his

current facility and/or been denied to him. If the Defendant was in such need of treatment or

therapy, he could have raised the issue with the Government or the Court at any time during his

case.

        A 324-month sentence in this case is appropriate along with a lifetime of supervision is

appropriate in this case. The Defendant has demonstrated that he is able to commit his crimes

from anywhere in the world, while also showing that he can elude law enforcement authorities.



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The facts of this case—including the advertising and distribution of child pornography, creation

of an anonymous server, the hosting of websites dedicated to the production of child

pornography and sadomasochistic child pornography, the sexual abuse of infants, the

Defendant’s efforts to abscond to a country with limited or no extradition process with the

United States, and his efforts to obstruct justice—are proof that the Defendant’s rehabilitation,

success, and his likelihood to re-offend will only be reduced if this Court holds him accountable

for his recovery and rehabilitation under supervision.



                                              Respectfully submitted,

                                              Jonathan F. Lenzner
                                              Acting United States Attorney

                                      By:     ____/s/_______________
                                              Thomas M. Sullivan
                                              Assistant United States Attorney

                                      By:     ____/s/_______________
                                              Ralph Paradiso
                                              Trial Attorney
                                              Child Exploitation and Obscenity Section
                                              Department of Justice




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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that I have, this 9th day of September 2021, caused a copy of the

foregoing Government’s Restitution Submission to be delivered by CM/ECF to all counsel of

record.

                                                   _______/s/_________________
                                                   Thomas M. Sullivan
                                                   Assistant United States Attorney




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